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cLEYTAJCT ..s D\ST“ oFM VIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
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m I, Special Agent Steven Dreiss, being first duly swom, hereby depose and state as
follows:
INTRODUCTION AND AGENT BACKGROUND
l. I make this affidavit in support for a search Warrant applications for Apple iPhone

7 plus, model number: Al784, FCC ID: BCG»E3092A, IC: 579C-E3092A (the “Target Phone”),
as described in Attachment A. The user of the aforementioned cellular telephone is being
investigated for possible violations of Title 18, United States Code, Sections 1343, 1344, and
1349 (wire fraud, bank fraud, and conspiracy to commit Wire fraud and bank fraud); and Title 18,
United States Code, Sections 1028, 1028A, and 1029 (identity thefc, fraud, and related activity in
connection with identification documents, authentication features, and access devices), There is
probable cause to believe that the Target Phone contains evidence, fruits, and instrumentalities of
these offenses, as descn`bed in Attachment B.

2. Your Affiant, Special Agent Steven Dreiss, has been employed by the U.S. Naval
Criminal lnvestigative Service (NCIS) since September 1997. Currently l am assigned to the
NCIS Resident Agency in Annapolis, MD where I conduct felony-level criminal investigations
affecting the U.S. Navy and U.S. Marine Corps.

3. I have served as a Special Agent with NCIS at numerous locations to include
Camp Lejeune, NC; Naples, Italy; NCIS Headquarters (Washington, DC); and the NCIS Office
of Special Projects (Washington, DC). I have successfully completed the Criminal lnvestigator
Training Program and the NCIS Special Agent Basic Training Program at the Federal Law
Enforcement Training Center in Glynco, GA. I also have attended numerous advanced training

programs During my tenure With NCIS, 1 have conducted numerous criminal investigations into

 

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allegations of sexual assault, child sex abuse, narcotics violations, theft of government property,
homicide, fraud, economic crimes, and other violations of the Uniform Code of Military Justice
(UCMJ) and the United States Code (USC), Additionally,'I applied complex investigative
techniques in the determination of federal and UCMJ violations, prepared search warrants and
written reports, and collected and preserved evidence in furtherance of these investigations

4. The facts of this affidavit come from my personal observations, my training and
experience, and information obtained from other law enforcement agents and witnesses This
affidavit is intended to show merely that there is Sufficient probable cause for the requested

warrant and does not set forth all my knowledge about this matter.

PROBABLE CAUSE

5. On November 29, 2017, I met with detectives from the Naval Support Activity
(NSA) Annapolis Security Department who provided information of an arrest made by the
Maryland Transportation Authority Police (MTAP) near the Baltimore Harbor Tunnel on
November 19, 2017. MTAP arrested Diogo Miranda ARAUJO. ARAUJ 0 was stopped while
driving a stolen 2017 Ford Edge and arrested A subsequent search of the vehicle led to the
seizure of numerous fake credit cards and a Brazilian identification card in another person’s
name. Additionally, ARAUJO was found in possession of electronic items purchased earlier in
the day on November 19, 2017, at the Naval Exchange (NEX) located aboard NSA Annapolis,
MD. Receipts found in the vehicle confirmed the purchases for the electronics were made with
the fake credit cards found in ARAUJO’s possession MTAP also seized an Apple iPhone 7
plus, model number: Al784, FCC ID: BCG-E3092A, IC: 579C»E3092A (the “Target Phone”).

6. l have reviewed an incident report completed by Charlotte-Mecklenburg Police

Department (North Carolina) regarding a report of possible fraudulent activity by Enterpiise

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Rental Car personnel According to the report, the 2017 Ford Edge driven by ARAUJO on
November 19, 2017, had been rented along with two other vehicles by three individuals believed
to be part of the same group. According to the report, each of the customers presented invalid
photo identification and invalid credit cards in connection with the rental of each vehicle.

7. Later on November 29, 2017, I was notified by the NSA Security Department that
at least two individuals who presented Brazilian identification cards to cashiers at the NEX
aboard NSA Annapolis were attempting to purchase items using credit cards. The NSA Secun`ty
Department detained the subjects as NCIS responded to the scene. Upon arrival to the NEX,
subjects were observed in an Enterprise Rental Car vehicle in the NEX parking lot. I approached
the driver’s side door while displaying a badge and law enforcement credentials and requested
the driver to step out of the vehicle. As the driver did so, l observed numerous credit cards in an
open white box on the vehicle’s center console. Two other subjects were detained for
investigative purposes Pat down searches of the three subjects revealed numerous credit cards
in various names and Brazilian identification cards on all three individuals Each of the three
subjects also possessed fake Brazilian identification cards bearing their photos but names that did
not belong to them. A search of the vehicle yielded approximately 166 credit cards and several
items to include electronics recently purchased at the NEX. The credit cards found in the vehicle
and numerous additional credit cards found on the persons of the three subjects were seized by
NCIS.

8. On December l, 201?, Special Agent John Lapati, U.S. Secret Service, Baltimore
Field Division, examined and tested approximately 190 credit cards seized on November 29,
2017. Through a physical examination and the use of a Mini 600 Card Scanning Device, Special

Agent Lapati determined that approximately 185 of the credit cards seized were counterfeit The

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names displayed on the fronts of most of the cards seized on November 29, 2017, matched
names displayed on the fronts of cards seized from ARAUJO on November 19, 2017.
Additionally, the names of the banks printed on the cards seized by MTAP, that included
banking institutions Santander Intemational, Ourocard, and Itau, were some of the same banks
that were printed on the cards seized by me on November 29, 2017. Open source research
conducted by me revealed Itau is a Brazilian banking institution with headquarters in San Paulo,
Brazil; Ourocard is affiliated with the Bank of Brazil; and Santander Bank Brazil is a large
commercial bank with headquarters in San Paulo, Brazil.

9. l have reviewed information from U.S. Secret Service that, on or about July 29,
2017, ARAUJO was arrested by the St. Charles Police Department in St. Charles, Illinois for
credit card fraud. At the time of his arrest, ARAUJO possessed several credit cards displaying a
name with the initials F.V. as well as a Brazilian identification card in the name of F.V. but
displaying a photo of ARAUJO. Two of the credit cards he used and/or surrendered from his
person had Santander and Ourocard banking information printed on them. A key to a Ford
Transit vehicle was recovered from ARAUJO, the vehicle was impounded, and a warrant was
obtained to search the vehicle. During the search, on or about July 31, 2017, authorities
recovered approximately 157 items of merchandise, approximately 191 credit cards, and other
items. Approximately 120 of the recovered credit cards were located within a FedEx box, and
approximately 42 of the cards were recovered from a FedEx bag.

10. Based upon training and experience, l know the following:

a. Participants in criminal fraud schemes such as counterfeit credit/debit card

schemes commonly use cellular telephones and other electronic devices to engage in voice calls,

text messages, email, and social media contacts in order to conduct activities in furtherance of their

 

 

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crimes, including but not limited to the following: to communicate with co-conspirators, victims,
and third-party businesses; to convey personal identity and financial information, and other
instrumentalities of their fraud schemes; and to conduct financial transactions;

b. Participants in criminal fraud schemes such as counterfeit credit/debit card
schemes maintain books, records and other documents that identify and contain the names,
addresses and/or telephone numbers of other participants and of victims in locations including, but
not limited to, cellular telephones and other electronic storage media;

c. Participants in criminal fraud schemes such as counterfeit credit/debit card
schemes maintain in electronic Storage media (such as cellular telephones) information necessary
to execute their schemes as well as information obtained as a result of their crimes, including
personal identity information and credit card information belonging to individual victims;

d. Participants in criminal fraud schemes such as counterfeit credit/debit card
schemes commonly utilize parcel delivery services to ship counterfeit access devices or other fruits
or instrumentalities of the fraud scheme;

e. Many cellular telephones have features that capture and store for long
periods of time the telephone numbers of incoming and outgoing calls, contact lists that include
names and telephone numbers, email, text messages, photographs, 1P addresses, geographic
locations, and voice recordings; and

f. Electronic storage devices, including cellular telephones, commonly
contain indicia of ownership and information identifying users of the devices

CONCLUSION
1 1. Your Affiant submits that there is probable cause to believe that ARAUJO has

committed criminal violations of 18 U.S.C. §§ 1343, 1344, and 1349 (wire fraud, bank fraud, and

 

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conspiracy), and 18 U.S.C. §§ 1028, 1028A, and 1029 (identity theft, fraud, and related activity
, in connection with identification documents, authentication features, and access devices); and
1 that evidence, fmits, and instrumentalities of these offenses are contained within the Target

Phone.

 

j SIIEWM

Steven Dreiss
Special Agent
Naval Criminal Investigative Service

subscribed to and sworn m me third Lday or March, 2018

 

   

 

The Holsoradle Stephanie A.'§“}ali:agher
United States Magistrate Judge

